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 MORITT HOCK & HAMROFF LLP
 400 Garden City Plaza
 Garden City, NY 11530
  (516) 873-2000
 Allison Arotsky
 aarotsky@moritthock.com

 Counsel for PTI Union, LLC, PTI Roytson, LLC and Broadview Investments LLC

                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY


 In re:                                                :       Chapter 11
                                                       :
 LTL MANAGEMENT LLC,                                   :       Case No. 21-30589 (MBK)
                                                       :
                                        Debtor.        :
                                                       :


               NOTICE OF APPLICATION FOR ADMISSION PRO HAC VICE


 TO:      Counsel and Parties in Interest


          PLEASE TAKE NOTICE THAT the undersigned, counsel for PTI Union, LLC, PTI

 Roytson, LLC and Broadview Investments LLC (collectively, "Movants"), hereby moves for an

 order in the form accompanying this notice admitting Leslie A. Berkoff, Esq. pro hac vice to appear

 in this case as counsel for Movants.

          PLEASE TAKE FURTHER NOTICE that in support of the application, Movants shall rely

 upon the Certifications of Allison Arotsky, Esq. and Leslie A. Berkoff, Esq. submitted herewith.

          Unless requested by other parties, no oral argument is requested.




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 Dated: Garden City, New York
        March 4, 2022
                                           MORITT HOCK & HAMROFF LLP
                                           Counsel for PTI Union, LLC, PTI Roytson, LLC
                                           and Broadview Investments LLC

                                           By:   _s/Allison Arotsky ___________________
                                                 Allison Arotsky
 To:

 LTL Management LLC                              JONES DAY
 501 George Street                               Caitlin K. Cahow, Esq.
 New Brunswick, NJ 08933                         Brad B. Erens, Esq.
 (Debtor)                                        77 West Wacker, Suite 3500
                                                 Chicago, IL 60601
 US Dept of Justice                              (Attorneys for the Debtor)
 Office of the US Trustee
 One Newark Center Ste 2100                      JONES DAY
 Newark, NJ 07102                                Robert W. Hamilton, Esq.
 (United States Trustee)                         325 John H. McConnell Blvd.
                                                 Suite 600
 WOLLMUTH MAHER & DEUTSCH LLP                    Columbus, OH 43215
 Paul R. DeFilippo, Esq.                         (Attorneys for the Debtor)
 Joseph Francis Pacelli, Esq.
 James N. Lawlor, Esq.                           KING & SPALDING LLP
 Lyndon Mitchell Tretter, Esq.                   Kristen R. Fournier, Esq.
 Brad Jeffrey Axelrod, Esq.                      1185 Avenue of the Americas
 500 Fifth Avenue                                34th Floor
 Ste 12th Floor                                  New York, NY 10036
 New York, NY 10110                              (Attorneys for the Debtor)
 (Attorneys for the Debtor)
                                                 SHOOK, HARDY & BACON LLP
 JONES DAY                                       Kathleen A Frazier, Esq.
 Daniel B. Prieto, Esq.                          JPMorgan Chase Tower
 Mark W. Rasmussen, Esq.                         600 Travis Street
 Gregory M. Gordon, Esq.                         Suite 3400
 Amanda Rush, Esq.                               Houston, TX 77002
 2727 North Harwood Street                       (Attorneys for the Debtor)
 Dallas, TX 75201-1515
 (Attorneys for the Debtor)                      WHITE & CASE LLP
                                                 Glenn M. Kurtz, Esq.
 JONES DAY                                       Jessica Lauria, Esq.
 James M. Jones, Esq.                            1221 Avenue of the America
 250 Vesey Street                                New York, NY 10020
 New York, NY 10281                              (Attorneys for the Debtor)
 (Attorneys for the Debtor)

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 RAYBURN COOPER & DURHAM, P.A.
 C. Richard Rayburn, Jr., Esq.
 Matthew L Tomsic, Esq.
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 1200 The Carillon
 227 West Trade Street
 Charlotte, NC 28202
 (Attorneys for the Debtor)




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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY


 In re:                                                  :       Chapter 11
                                                         :
 LTL MANAGEMENT LLC,                                     :       Case No. 21-30589 (MBK)
                                                         :
                                         Debtor.         :
                                                         :


                            CERTIFICATION OF ALLISON AROTSKY

             ALLISON AROTSKY certify under penalty of perjury pursuant to 28 U.S.C. §1746.

          1.       I am an attorney-at-law authorized to practice before the United States District

 Court for the District of New Jersey. I am also an attorney with the law firm of Moritt Hock &

 Hamroff LLP ("MH&H"), counsel to PTI Union, LLC, PTI Roytson, LLC and Broadview

 Investments LLC in the above-captioned proceeding. I submit this Certification in Support of an

 application to admit Leslie A. Berkoff, Esq., pro hac vice in this matter.




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         2.     I hereby acknowledge and agree that pursuant to General Rule 4 of the United

 States District Court for the District of New Jersey, I will, as an attorney-at-law in this Court,

 take responsibility for signing and filing pleadings with the Court in this matter.



 I certify under penalty of perjury that the foregoing is true and correct. Executed on March 4,

 2022.



                                                        s/Allision Arotsky _____
                                                        Allison Arotsky




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 Counsel for PTI Union, LLC, PTI Roytson, LLC and Broadview Investments LLC

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


 In re:                                             :      Chapter 11
                                                    :
 LTL MANAGEMENT LLC,                                :      Case No. 21-30589 (MBK)
                                                    :
                                      Debtor.       :
                                                    :

               CERTIFICATION OF LESLIE A BERKOFF, ESQ. IN SUPPORT OF
                     APPLICATION FOR ADMISSION PRO HAC VICE


          LESLIE A. BERKOFF, certify under penalty of perjury pursuant to 28 U.S.C. §K1746:

          1.     I make and submit this Certification in support of the application for my

 admission pro hac vice in this action as counsel for PTI Union, LLC, PTI Roytson, LLC and

 Broadview Investments LLC.

          2.     I am of lawful age and a member in good standing of, and admitted to practice

 before, the New York State Court, the State Court of Connecticut and the United States District

 Court for the Eastern and Southern Districts of New York, as well as the Bankruptcy Courts for

 those Districts. I have no disciplinary or grievance proceedings or investigations that been

 initiated or are currently pending against me.

          3.     I am also a partner with the law firm of Moritt Hock & Hamroff LLP ("MH&H")

 with offices located at 1407 Broadway, Suite 3900, New York, NY 10018 and 400 Garden City

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 Plaza, Garden City, NY 11530 (telephone numbers: (212) 239-2000 or (516) 873-2000; E-mail

 address: lberkoff@moritthock.com).

         4.     I hereby consent to the jurisdiction of this Court in any matter arising out of my

 conduct in this proceeding and I understand that I will be bound by the Rules of Professional

 Conduct of the American Bar Association as revised by the New Jersey Supreme Court.

         5.     I hereby certify that I have received and am familiar with the Local Civil Rules for

 the United States District Court for the District of New Jersey.




 I certify under penalty of perjury that the foregoing is true and correct. Executed on March 4,

 2022.



                                                       s/Leslie A. Berkoff___________
                                                       Leslie A. Berkoff




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